Case 5:12-cr-00092-VAP Document 752 Filed 02/19/15 Page 1 of 14 Page ID #:12538




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     SOHIEL OMAR KABIR
10
                               UNITED STATES DISTRICT COURT
11
                           CENTRAL DISTRICT OF CALIFORNIA
12
                                      EASTERN DIVISION
13
14   UNITED STATES OF AMERICA,                       Case No. ED CR 12-92-VAP
15                Plaintiff,
                                                     LETTERS RE: SENTENCING
16         v.
17
     SOHIEL OMAR KABIR,                              Hearing Date: February 23, 2015
18
                  Defendant.                         Hearing Time: 9:00 a.m.
19
20
21         Defendant Sohiel Omar Kabir, through his attorneys of record, hereby submit the
22   attached letters for this Court’s consideration in support of sentencing.
23                                           Respectfully submitted,
24                                          HILARY POTASHNER
                                            Acting Federal Public Defender
25
26
     DATED: February 19, 2015            By/s/ Jeffrey A. Aaron
27                                         JEFFREY A. AARON
28                                         Deputy Federal Public Defender

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Case 5:12-cr-00092-VAP Document 752 Filed 02/19/15 Page 2 of 14 Page ID #:12539




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Case 5:12-cr-00092-VAP Document 752 Filed 02/19/15 Page 3 of 14 Page ID #:12540




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Case 5:12-cr-00092-VAP Document 752 Filed 02/19/15 Page 4 of 14 Page ID #:12541




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Case 5:12-cr-00092-VAP Document 752 Filed 02/19/15 Page 5 of 14 Page ID #:12542




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Case 5:12-cr-00092-VAP Document 752 Filed 02/19/15 Page 6 of 14 Page ID #:12543




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Case 5:12-cr-00092-VAP Document 752 Filed 02/19/15 Page 7 of 14 Page ID #:12544




 Dear Judge,
 I am reaching out to you regarding Mr. Sohiel Omar Kabir also known to
 us as Snail (patient in everything he does). I consider Sohiel more like a
 brother than a friend, I’ve known sohiel for over 15 years and I can say
 that in all those years, I have never ever seen him be aggressive or
 burst out in anger towards anyone, he has always been the most
 generous and kind ,caring and funniest man. He has shown us nothing
 but love to my six children and respect and loyalty to all his family. He is
 so great with all children he loves kids. Any family occasion he is the
 one person we leave to entertain the children because he can get along
 with the kids and the kids absolutely adore him. He is one of the
 funniest persons you can ever meet, has these weird little noises to go
 with everything he says it’s hilarious, has a lot of us doing the same
 noises without us realizing it. He can always bring a smile to our faces
 no matter how down we are always has positive words for us and
 makes you feel like there is hope. Meeting sohiel and his family has
 literally been the best blessing in my life. Sohiel has always been there
 for my children even though the first 4 of my children are not blood
 related. He treats them like family. He is a great role model to my
 children, always taught them right from wrong. My children were at a
 young age when they met sohiel so they grew up together, I would
 always depend on him to be there to help me .My husband worked
 long hours and didn’t spend a lot of time at home , but having sohiel
 around, my children were in good hands. My kids would come home
 from school in a good mood always because they knew uncle sohiel
 would be there. He helped me with my newborn i             due to me
 getting surgery he would prepare bottles, hold him with such care and
 feed him, he would put him to sleep and sometimes baby would fall
 asleep on his chest, even though sohiel wasn’t asleep he would lay for
 hours so baby wouldn’t wake up. He was very protective over them all.


                                       7
Case 5:12-cr-00092-VAP Document 752 Filed 02/19/15 Page 8 of 14 Page ID #:12545




 My children love and miss him very much and are devastated thinking
 he won’t be around. Sohiel just like everyone else has made foolish
 mistakes in his past, might have said, wrote things that got him in the
 situation that he is in, but I know for a fact it isn’t like they make it
 seem, he would never harm no one. We weren’t even allowed it kill a
 bug, he would have it removed outside unharmed. He has taught my
 children very good things in life .My children now adults, still follow
 that, that he has taught them. Another incident my son Robert at the
 time was 9‐10 yrs. old drove by with sohiel and came across a dead
 squirrel and pulled over and he along with my son buried it near the
 area it was found. Sohiel once picked up an injured bird that was on the
 side of the road and took it to the vet and paid with his own money.
 Sohiel loves all creatures of GOD and teaches my children they should
 too. I deeply know in my heart that Sohiel is a magnificent human being
 and deserves a second chance to live a life fulfilling his dreams of
 becoming a father an being married, we all have them dreams and even
 though we all make mistakes, we learn from them and change out
 paths in life, life hasn’t been so easy for sohiel, he gets these random
 seizures that has stopped him from accomplishing many of those
 dreams, he’s been in accidents due to the seizures and had his license
 taken away for a grown man to have to depend on his parents an family
 to give him rides , its very hard to do his life has changed drastically but
 yet always had good spirits and positive outlook in life, he joined the air
 force because he wanted to make a difference but was also taken due
 to his medical condition, I’ve have seen many people accused of real
 tragic crimes and have had second chances. Sohiel made a mistake I’m
 sure harmless and blown out of proportion and would have never done
 anything to make his parents be disappointed or harm his family in
 anyway. Your Honor I appreciate you take the time to read these letters
 and am grateful and I hope you take my words in consideration and



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Case 5:12-cr-00092-VAP Document 752 Filed 02/19/15 Page 9 of 14 Page ID #:12546




 give Sohiel a second chance to rebuild and start over, he is one of the
 most decent, caring persons I know and it would be horrible to see that
 he has to spend all them years in prison for something that I know he’s
 not capable of. He is no harm to no one. He is an upstanding citizen of
 this country and has never commited a crime prior to what now he is
 being accused of.


 Thank you for your time,
 Rosa Maldonado




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Case 5:12-cr-00092-VAP Document 752 Filed 02/19/15 Page 10 of 14 Page ID #:12547




 Dear Judge,
      My relation to Sohiel Kabir is through my stepdad. He's brothers with
 him. We have gotten really close throughout the years of knowing him and
 having him as family. I met him when I was about maybe 6-7 years old. I’m
 23 years now and remember the times spent like it was yesterday, good
 memories you don’t forget. We get along very we'll, he's always there to
 give me advice and help me when I needed help even if it was from
 homework to personal life advice. He is very funny so always made my day
 when I was with him. He's very trust worthy. He's like a big bother for me.
 He's a very caring man, always playing and joking with me and my siblings.
 There's never a dull moment. He is always there for his family. He's a really
 smart but forgetful person. Some days I'd have to remind him of things he
 had to do, things he said because he would forget... Sohiel is a good
 person. His intentions are always good, not just family but everyone. He has
 always treated me and my siblings with nothing but love. He would take
 care of us all the time and play with us, games, watch movies with us. Talk
 to us about life about his life experiences and told us his mistakes an why
 we should always do well and make the right choices. He's overcome a lot
 in life. Suffers from seizures a lot due to the injury he had years ago. From
 what I knew his eye sight was damaged as we'll. He's very positive about it
 and doesn't let the struggles of life really get to him. I feel like everyone
 makes mistakes in life and they learn and grow if they are given the chance.
 I believe he deserves another chance in life. I know him we'll enough to
 know he had no bad intentions on the things he posted on Facebook. He's
 an open minded person and likes to research things about the world
 whether they are true or not he will share them. I just can't imagine him
 being guilty of what is being put on him of doing. He's not the type of
 person to hurt anyone. I know he wants a family. I know he wants kids and
 get married and he deserves to have all of that... I'm sure he wishes he
 wasn't missing all the things he has already missed with his family. He
 hasn't even gotten to see my daughters grow and I would love to have him
 around my daughters. I miss him and his jokes his warm hearted words


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Case 5:12-cr-00092-VAP Document 752 Filed 02/19/15 Page 11 of 14 Page ID #:12548




 when I was down or felt alone. I would do anything I can to help him get
 another chance of living a better life. All of his family misses him. Judge I
 know you read many of these letters from family members telling you
 about how they are... But truthfully he's not a threat... He's not a bad
 person. He may have not made the best decisions or shared something’s
 on the internet he shouldn't have but what he's being accused of does not
 sound right to me. As his niece because I do consider him family. He's
 showed me and my siblings more love than my own family has... I ask you
 to really consider this letter. Sohiel is the kind of person who will always be
 there for you. He will always put you first. If he was down to his last 5
 dollars and you needed it he would give it to you. He's the funniest guy.
 He's not perfect but in life you have to fall, you have to break sometimes,
 that's the only way you can get up and rebuild yourself. I believe he will
 show everyone he's worthy of starting a brand new life and staying out of
 trouble if he got the chance.


 Sincerely,
 Vivian Pichardo




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Case 5:12-cr-00092-VAP Document 752 Filed 02/19/15 Page 12 of 14 Page ID #:12549



 February 2, 2015



 Dear Judge,



 My name is Haseena Harim, and I am the cousin of Sohiel Kabir. We have been more than just cousins
 growing up, I consider him a best friend and one to confide in when in need of help. We come from a
 very large family with several cousins, but there was always something special about his heart. His laugh
 and presence brightened every room and family gathering. I can’t think of many occasions that
 consisted of family Sohiel didn’t attend, he is a family man. When serving in the military the younger
 generation of cousins could not wait to receive a call or letter, we were devastated to hear the reason
 he was returning home but relieved he was alive. Watching him slowly fall off after his return was heart
 breaking, someone so young and ambitious was becoming dependent. I understand that this case is a
 sensitive matter, but I also do know Shoiel had no intent in harming anyone. He’s a person we refer to as
 “all bark but no bite”. I believe he was guided in the wrong direction and led to say the things he said.
 His ego was led on by the wrong person. Our family needs Sohiel back and apart of us again, I kindly ask
 you take this under consideration.



 Best Regards,

 Haseena Harim




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Case 5:12-cr-00092-VAP Document 752 Filed 02/19/15 Page 13 of 14 Page ID #:12550




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Case 5:12-cr-00092-VAP Document 752 Filed 02/19/15 Page 14 of 14 Page ID #:12551




1                                     PROOF OF SERVICE
2          I, Kristina Beck, declare that I am a resident or employed in Riverside County,
3    California; that my business address is the Office of the Federal Public Defender, 3801
4    University Avenue, Suite 700, Riverside, California 92501, (951) 276-6346; that I am
5    over the age of eighteen years; that I am not a party to the action entitled above; that I
6    am employed by the Federal Public Defender for the Central District of California, who
7    is a member of the Bar of the State of California, and at whose direction I served a copy
8    of the attached Letters Re: Sentencing on the following individual(s) by:
9           [X] Placing           [ ] Placing              [ ] Placing            [ ] Faxing
     same in a sealed       same in an envelope     same in a sealed       same via facsimile
10   envelope for           for hand delivery       envelope for           machine addressed
     collection and         addressed as            collection and         as follows:
11   interoffice delivery   follows:                mailing via the
     addressed as                                   United States Post
12   follows:                                       Office addressed as
                                                    follows:
13
14   Lori Pascover                                         Allen W. Chiu [by ECF]
     U.S. Probation Officer                                Assistant U.S. Attorney
15   312 N. Spring St., 6th Fl.
     Los Angeles, CA 90012                                 Susan DeWitt [by ECF]
16                                                         Assistant U.S. Attorney
17                                                         Christopher Grigg [by ECF]
                                                           Assistant U.S. Attorney
18
19
20         This proof of service is executed at Riverside, California, on February 19, 2015.
21         I declare under penalty of perjury that the foregoing is true and correct to the best
22   of my knowledge.
23
24                                           /s/ Kristina Beck               .
                                             Kristina Beck
25
26
27
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